                                                                                 ___________
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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 VALERO ENERGY, LTD.                                §
   Plaintiff/Garnishor                              §
                                                    §
                                                    §
 v.                                                 §
                                                    §
                                                    §
 CLYDE BERGEMANN US, INC.,                         §
 AND CLYDE BERGEMANN POWER                         §
 GROUP AMERICAS, LLC, F/K/A CLYDE                  §          Civil Action No:
 BERGEMANN POWER GROUP                             §
 AMERICAS, INC.                                    §             [Related Case No. 4-21-cv-02034]
   Defendants/Judgment Debtors                     §
                                                   §
 and                                               §
                                                   §
                                                   §
 WELLS FARGO BANK,N.A.                             §
   Garnishee                                       §

             APPLICATION FOR WRIT OF GARNISHMENT AFTER JUDGMENT


        1.      Parties. Valero Energy, Ltd., Plaintiff in garnishment, whose address is One Valero

Way, San Antonio, Texas 78249, makes this Application for Writ of Garnishment after Judgment.

Garnishee Wells Fargo Bank, N.A. may be served through its Registered Agent, Corporation

Service Company dba CSC     —   Lawyers Incorporating Service Company at 211 East 7th Street, Suite

620, Austin, Texas 78701.

       2.       Facts.   Plaintiff has a valid, subsisting judgment against Defendants Clyde

Bergemann US, Inc., and Clyde Bergemann Power Group Americas, LLC, formerly known as

Clyde Bergemann Power Group Americas, Inc., that was rendered on or about July 22, 2021, by

the United States District Court for the Southern District of Texas in Civil Action No. 4-21-cv-
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02034. The amount on this judgment is $1,066,710.45 for breach of warranty; $360,498.32 for

legal fees, expenses, and expert fees; $200,016.83 for costs of arbitration; and $158,399.16 in pre

award interest, with simple interest accruing on the foregoing amounts at the rate of five (5) percent

per annum from March 28, 2021, until paid. A true and correct copy of the judgment is attached

hereto as Exhibit A.

          Defendant Clyde BergemannUS, Inc.’s last known address is 7380 Coca-Cola Drive, Suite

    126, Hanover, Maryland 21076. Defendant Clyde Bergemann Power Group Americas, LLC,

formerly known as Clyde Bergemann Power Group Americas, Inc.’s last known address is

Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801.

          Within Plaintiffs knowledge, Defendants do not possess property in Texas subject to

execution sufficient to satisfy the judgment. This garnishment is not sought to injure Defendants

or Garnishee.

          3.         Affidavit.   Plaintiff is entitled to the issuance of a Writ of Garnishment on the

grounds stated in the affidavit attached hereto as Exhibit B. The affidavit is incorporated in this

application by reference.

          4.         Prayer. Plaintiff prays that:

                a.           a Writ of Garnishment be issued directed to Garnishee’;

               b.            Plaintiff be granted judgment against Garnishee for the amount now due on

                             Plaintiffs judgment already rendered against Defendants Clyde Bergemann

                             US, Inc., and Clyde Bergemann Power Group Americas, LLC, formerly

                             known as Clyde Bergemann Power Group Americas, Inc., together with

                             interest and costs of the suit in the original case and in this Garnishment



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    A proposed Writ of Garnishment is attached hereto as Exhibit C.
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                     proceeding;

            c.       Plaintiff be granted judgment for pre-judgment and post-judgment interest

                     at the highest rate allowed by law; and

            d.       Plaintiff be granted all further relief to which Plaintiff may be entitled.




Dated: January 12, 2022                              Respectfully submitted,

                                                     Lam, Lyn & Philip, P.C.
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